




NO. 07-03-0299-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



DECEMBER 15, 2004



______________________________





ROSEANDA GONZALES MORALES, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 64TH DISTRICT COURT OF HALE COUNTY;



NO. A 13785-0008; HONORABLE ED SELF, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION

Appellant Roseanda Gonzales Morales appeals from a judgment adjudicating guilt for theft of property and imposing punishment of confinement for two years in a state jail facility. &nbsp;We affirm. &nbsp;&nbsp;

Appellant was charged by indictment with the offense of 
theft of property with a value of $1,500 or more but less than $20,000.00. &nbsp;Pursuant to a plea agreement with the State, appellant waived trial by jury and entered a plea of guilty. &nbsp;The trial court accepted the plea of guilty, found that the evidence established appellant’s guilt, followed the plea agreement and placed appellant on deferred adjudication for five years. &nbsp;Appellant did not appeal from the proceedings. &nbsp;

On June 27, 2002, a Motion to Proceed With Adjudication of Guilt was filed. &nbsp;Appellant pled true to the allegations. &nbsp;The trial court modified the terms of appellant’s community supervision by extending the term of supervision to seven years. &nbsp;A second Motion to Proceed was filed. &nbsp;A hearing was held on the second motion and appellant pled true to the allegations. &nbsp;The court adjudicated appellant and sentenced her to confinement in the Texas Department of Criminal Justice, State Jail Division, for two years. 

Counsel for appellant has filed a Motion to Withdraw and a Brief in Support thereof. &nbsp;In support of the motion to withdraw, counsel has certified that, in compliance with 
Anders v. California
, 386 U.S. 738, 744-45, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), the record has been diligently reviewed and that, in the opinion of counsel, the record reflects no reversible error or grounds upon which a non-frivolous appeal can arguably be predicated. &nbsp;Counsel thus concludes that the appeal is frivolous. &nbsp;Counsel has discussed why, under the controlling authorities, there is no reversible error in the trial court proceedings or &nbsp;judgment. &nbsp;
See
 
High v. State
, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978). &nbsp;&nbsp;

Counsel has attached exhibits showing that a copy of the 
Anders
 brief and Motion to Withdraw have been forwarded to appellant, and that counsel has appropriately advised appellant of appellant’s right to review the record and file a response to counsel’s motion and brief. &nbsp;Appellant has not filed such a response.

We have made an independent examination of the record to determine whether there are any arguable grounds for appeal. &nbsp;
See
 
Penson v. Ohio
, 488 U.S. 75, 80,109 S.Ct. 346, 102 L.Ed 2d 300 (1988); 
Stafford v. State
, 813 S.W.2d 503, 511 (Tex.Crim.App. 1991). &nbsp;We have found no such grounds. &nbsp;We agree that the appeal is frivolous. 

Accordingly, counsel’s Motion to Withdraw is granted. &nbsp;The judgment of the trial court is affirmed.



Phil Johnson

Chief Justice







Do not publish. &nbsp;




